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                  EXHIBIT G
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                                                                            Apple Design Patents
       Title   Patent Number   Filing Date    Issue Date               Claim             Inventor Name(s)        Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D558,756 S   Jan. 5, 2007   Jan. 1, 2008   We claim the ornamental    Bartley K. Andre;         SAMNDCA00373540
DEVICE                                                       design for an electronic   Daniel J. Coster;
                                                             device, substantially as   Daniele De Iuliis;
                                                             shown and described.       Richard P. Howarth;
                                                                                        Jonathan P. Ive; Steve
                                                                                        Jobs; Duncan Robert
                                                                                        Kerr; Shin Nishibori;
                                                                                        Matthew Dean
                                                                                        Rohrbach; Douglas B.
                                                                                        Satzger; Calvin Q.
                                                                                        Seid; Christopher J.
                                                                                        Stringer; Eugene
                                                                                        Antony Whang; Rico
                                                                                        Zorkendorfer




ELECTRONIC     US D558,758 S   Jan. 5, 2007   Jan. 1, 2008   We claim the ornamental    Bartley K. Andre;        SAMNDCA00373544
DEVICE                                                       design for an electronic   Daniel J. Coster;
                                                             device, substantially as   Daniele De Iuliis;
                                                             shown and described.       Richard P. Howarth;
                                                                                        Jonathan P. Ive; Steve
                                                                                        Jobs; Duncan Robert
                                                                                        Kerr; Shin Nishibori;
                                                                                        Matthew Dean
                                                                                        Rohrbach; Douglas B.
                                                                                        Satzger; Calvin Q.
                                                                                        Seid; Christopher J.
                                                                                        Stringer; Eugene
                                                                                        Antony Whang; Rico
                                                                                        Zorkendorfer




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                                                                               Apple Design Patents
       Title   Patent Number   Filing Date      Issue Date             Claim                 Inventor Name(s)        Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D580,387 S   Jan. 5, 2007    Nov. 11, 2008 We claim the ornamental        Bartley K. Andre;         SAMNDCA00373548
DEVICE                                                       design for an electronic       Daniel J. Coster;
                                                             device, substantially as       Daniele De Iuliis;
                                                             shown and described.           Richard P.;Howarth;
                                                                                            Jonathan P. Ive; Steve
                                                                                            Jobs; Duncan Robert
                                                                                            Kerr; Shin Nishibori;
                                                                                            Matthew Dean
                                                                                            Rohrbach; Douglas B.
                                                                                            Satzger; Calvin Q.
                                                                                            Seid; Christopher J.
                                                                                            Stringer; Eugene
                                                                                            Antony Whang; Rico
                                                                                            Zorkendorfer




ELECTRONIC     US D581,922 S   Jun. 30, 2007   Dec. 2, 2008   The ornamental design         Bartley K. Andre;        SAMNDCA00373552
DEVICE                                                        for an electronic device,     Daniel J. Coste;
                                                              substantially as shown        Daniele De Iuliis;
                                                              and described.                Richard P.Howarth;
                                                                                            Jonathan P. Ive; Steve
                                                                                            Jobs; Duncan Robert
                                                                                            Kerr; Shin Nishibori;
                                                                                            Matthew Dean
                                                                                            Rohrhach; Douglas B.
                                                                                            Satzger; Calvin Q.
                                                                                            Seid; Christopher J.
                                                                                            Stringer; Eugene
                                                                                            Antony Whang; Rico
                                                                                            Zorkendorfer




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                                                                               Apple Design Patents
       Title   Patent Number    Filing Date     Issue Date               Claim                Inventor Name(s)          Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D586,800 S   Jun. 30, 2007   Feb. 17, 2009   The ornamental design         Bartley K. Andre;           SAMNDCA00373556
DEVICE                                                         for an electronic device,     Daniel J. Coster;
                                                               as shown and described.       Daniele De Iuliis;
                                                                                             Richard P. Howarth;
                                                                                             Jonathan P. Ive; Steve
                                                                                             Jobs; Duncan Robert
                                                                                             Kerr; Shin Nishibori;
                                                                                             Matthew Dean
                                                                                             Rohrbach; Douglas B.
                                                                                             Satzger; Calvin Q.
                                                                                             Seid; Christopher J.
                                                                                             Stringer; Eugene
                                                                                             Antony Whang; Rico
                                                                                             Zorkendorfer




ELECTRONIC     US D602,015 S   Apr. 7, 2008    Oct. 13, 2009   The ornamental design         Bartley K. Andre;          SAMNDCA00373584
DEVICE                                                         for an electronic device,     Daniel J. Coster;
                                                               as shown and described.       Daniele De Iuliis;
                                                                                             Richard P. Howarth;
                                                                                             Jonathan P. Ive; Steve
                                                                                             Jobs; Duncan Robert
                                                                                             Kerr; Shin Nishibori;
                                                                                             Matthew Dean
                                                                                             Rohrbach; Peter
                                                                                             Russell-Clarke;
                                                                                             Douglas B. Satzger;
                                                                                             Christopher J. Stringer;
                                                                                             Eugene Antony
                                                                                             Whang; Rico
                                                                                             Zorkendorfer




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                                                                               Apple Design Patents
       Title   Patent Number    Filing Date    Issue Date                Claim                Inventor Name(s)          Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D601,558 S   Feb. 13, 2009   Oct. 6, 2009    The ornamental design         Bartley K. Andre;           SAMNDCA00373620
DEVICE                                                         for an electronic device,     Daniel J. Coster;
                                                               as shown and described.       Daniele De Iuliis;
                                                                                             Richard P. Howarth;
                                                                                             Jonathan P. Ive; Steve
                                                                                             Jobs; Duncan Robert
                                                                                             Kerr; Shin Nishibori;
                                                                                             Matthew Dean
                                                                                             Rohrbach; Douglas
                                                                                             B.Satzger; Calvin Q.
                                                                                             Seid; Christopher J.
                                                                                             Stringer; Eugene
                                                                                             Antony Whang; Rico
                                                                                             Zorkendorfer




ELECTRONIC     US D602,016 S   Jun. 6, 2009    Oct. 13, 2009   The ornamental design         Bartley K. Andre;          SAMNDCA00373624
DEVICE                                                         for an electronic device,     Daniel J. Coster;
                                                               as shown and described.       Daniele De Iuliis;
                                                                                             Richard P.Howarth;
                                                                                             Jonathan P. Ive; Steve
                                                                                             Jobs;Duncan Robert
                                                                                             Kerr; Shin Nishibori;
                                                                                             Matthew Dean
                                                                                             Rohrbach; Peter
                                                                                             Russell-Clarke;
                                                                                             Douglas B. Satzger;
                                                                                             Christopher J. Stringer;
                                                                                             Eugene Antony
                                                                                             Whang;
                                                                                             Rico;Zorkendorfer




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                                                                             Apple Design Patents
       Title   Patent Number Filing Date      Issue Date             Claim                  Inventor Name(s)        Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D600,241 S Apr. 18, 2008   Sep. 15, 2009 The ornamental design           Bartley K. Andre;         SAMNDCA00373631
DEVICE                                                     for an electronic device,       Daniel J. Coster;
                                                           as shown and described.         Daniele De Iuliis;
                                                                                           Richard P. Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach;
                                                                                           Peter;Russell-Clarke;
                                                                                           Douglas B. Satzger;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




ELECTRONIC     US D602,017 S   Sep.5, 2008   Oct. 13, 2009   The ornamental design         Bartley K. Andre;         SAMNDCA00373646
DEVICE                                                       for an electronic device,     Daniel J. Coster;
                                                             as shown and described.       Daniele De Iuliis;
                                                                                           Evans Hankey;
                                                                                           Richard PHowarth;
                                                                                           Jonathan P. Ive;
                                                                                           Duncan Robert Kerr;
                                                                                           Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Peter
                                                                                           Russell-Clarke;
                                                                                           Douglas B. Satzger;
                                                                                           Christopher J.Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




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                                                                              Apple Design Patents
       Title   Patent Number    Filing Date     Issue Date             Claim                Inventor Name(s)        Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D634,319 S   Jun. 21, 2010   Mar. 15, 2011 The ornamental design         Bartley K. Andre;         SAMNDCA00373656
DEVICE                                                       for an electronic device,     Daniel J. Coster;
                                                             as shown and described.       Daniele De Iuliis;
                                                                                           Richard P. Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Douglas B
                                                                                           Satzger; Calvin Q.
                                                                                           Seid; Christopher J.
                                                                                           Stringer; Eugene
                                                                                           Antony Whang; Rico
                                                                                           Zorkendorfer




ELECTRONIC     US D613,736 S   May 12, 2009    Apr. 13, 2010 The ornamental design         Bartley K. Andre;        SAMNDCA00373660
DEVICE                                                       for an electronic device,     Daniel J. Coster;
                                                             as shown and described.       Daniele De Iuliis;
                                                                                           Richard P.Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Douglas B.
                                                                                           Satzger; Calvin;Q.
                                                                                           Seid; Christopher J.
                                                                                           Stringer; Eugene
                                                                                           Antony Whang; Rico
                                                                                           Zorkendorfer




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                                                                               Apple Design Patents
       Title   Patent Number   Filing Date     Issue Date                Claim                Inventor Name(s)        Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D615,083 S   Jun. 5, 2008    May 4, 2010     The ornamental design         Bartley K. Andre;         SAMNDCA00373675
DEVICE                                                         for an electronic device,     Daniel J. Coster;
                                                               as shown and described.       Daniele De Iuliis;
                                                                                             Richard P. Howarth;
                                                                                             Jonathan P. Ive; Steve
                                                                                             Jobs; Duncan Robert
                                                                                             Kerr; Shin Nishibori;
                                                                                             Matthew Dean
                                                                                             Rohrbach; Peter
                                                                                             Russell-Clarke;
                                                                                             Douglas B. Satzger;
                                                                                             Christopher J. Stringer;
                                                                                             Eugene Antony
                                                                                             Whang; Rico
                                                                                             Zorkendorfer




ELECTRONIC     US D620,004 S   Sep. 10, 2009   Jul. 20, 2010   The ornamental design         Bartley K. Andre;          SAMNDCA00373679
DEVICE                                                         for an electronic device,     Daniel J. Coster;
                                                               as shown and described.       Daniele De Iuliis;
                                                                                             Richard P.Howarth;
                                                                                             Jonathan P. Ive; Steve
                                                                                             Jobs; Duncan Robert
                                                                                             Kerr; Shin Nishibori;
                                                                                             Matthew Dean
                                                                                             Rohrbach; Peter
                                                                                             Russell-Clarke;
                                                                                             Douglas B. Satzger;
                                                                                             Christopher J. Stringer;
                                                                                             Eugene Antony;
                                                                                             Whang; Rico
                                                                                             Zorkendorfer




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                                                                              Apple Design Patents
       Title   Patent Number   Filing Date      Issue Date             Claim                Inventor Name(s)        Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D622,720 S   Jun. 9, 2008    Aug. 31, 2010 The ornamental design         Bartley K. Andre;         SAMNDCA00373684
DEVICE                                                       for an electronic device,     Daniel J. Coster;
                                                             as shown and described.       Daniele De Iuliis;
                                                                                           Richard P.Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Peter
                                                                                           Russell-Clarke;
                                                                                           Douglas B. Satzger;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




ELECTRONIC     US D624,072 S   Sep. 23, 2009   Sep. 21, 2010 The ornamental design         Bartley K. Andre;          SAMNDCA00373696
DEVICE                                                       for an electronic device,     Daniel J. Coster;
                                                             as shown and described.       Daniele De Iuliis;
                                                                                           Richard P. Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Peter
                                                                                           Russell-Clarke;
                                                                                           Douglas B. Satzger;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




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                                                                              Apple Design Patents
       Title   Patent Number Filing Date        Issue Date             Claim                Inventor Name(s)          Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D627,343 S Sep. 15, 2009     Nov. 16, 2010 The ornamental design         Bartley K. Andre;           SAMNDCA00373700
DEVICE                                                       for an electronic device,     Daniel J. Coster;
                                                             as shown and described.       Daniele De Iuliis;
                                                                                           Richard P. Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Douglas B.
                                                                                           Satzger; Calvin Q.
                                                                                           Seid; Christopher J.
                                                                                           Stringer; Eugene
                                                                                           Antony Whang; Rico
                                                                                           Zorkendorfer




ELECTRONIC     US D627,778 S   Apr. 19, 2010   Nov. 23, 2010 The ornamental design         Jody Akana; Bartley K.     SAMNDCA00373704
DEVICE                                                       for an electronic device,     Andre; Jeremy
                                                             as shown and described.       Bataillou; Daniel J.
                                                                                           Coster; Daniele De
                                                                                           Iuliis; Evans Hankey;
                                                                                           Richard P. Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Peter
                                                                                           Russell-Clarke;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




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                                                                               Apple Design Patents
       Title   Patent Number Filing Date        Issue Date             Claim                Inventor Name(s)        Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D629,799 S Mar. 22, 2010     Dec. 28, 2010 The ornamental design         Bartley K. Andre;         SAMNDCA00373721
DEVICE                                                       for an electronic device,     Daniel J. Coster;
                                                             as shown and described.       Daniele De Iuliis;
                                                                                           Richard P. Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Peter
                                                                                           Russell-Clarke;
                                                                                           Douglas B. Satzger;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




ELECTRONIC     US D630,630 S   Jun. 11, 2010   Jan. 11, 2011   The ornamental design       Bartley K. Andre;          SAMNDCA00373726
DEVICE                                                         for an electronic device,   Daniel J. Coster;
                                                               as shown and described.     Daniele De Iuliis;
                                                                                           Evans Hankey;
                                                                                           Richard P.Howarth;
                                                                                           Jonathan P. Ive;
                                                                                           Duncan Robert Kerr;
                                                                                           Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Peter
                                                                                           Russell-Clarke;
                                                                                           Douglas B. Satzger;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




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                                                                               Apple Design Patents
       Title   Patent Number   Filing Date      Issue Date               Claim              Inventor Name(s)        Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D633,090 S   Jul. 14, 2010   Feb. 22, 2011   The ornamental design       Bartley K. Andre;         SAMNDCA00373736
DEVICE                                                         for an electronic device,   Daniel J. Coster;
                                                               as shown and described.     Daniele De Iuliis;
                                                                                           Richard P. Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Peter
                                                                                           Russell-Clarke;
                                                                                           Douglas B. Satzger;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




ELECTRONIC     US D633,092 S   Jul. 30, 2010   Feb. 22, 2011   The ornamental design       Bartley K. Andre;          SAMNDCA00373741
DEVICE                                                         for an electronic device,   Daniel J. Coster;
                                                               as shown and described.     Daniele De Iuliis;
                                                                                           Richard P.Howarth;
                                                                                           Jonathan P. Ive; Steve
                                                                                           Jobs; Duncan Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Peter
                                                                                           Russell-Clarke;
                                                                                           Douglas B. Satzger;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




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                                                                              Apple Design Patents
       Title   Patent Number   Filing Date     Issue Date               Claim               Inventor Name(s)       Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D633,493 S   Jun. 5, 2010    Mar. 1, 2011   The ornamental design       Jody Akana; Bartley K. SAMNDCA00373746
DEVICE                                                        for an electronic device,   Andre; Jeremy
                                                              as shown and described.     Bataillou; Daniel .J.
                                                                                          Coster; Daniele De
                                                                                          Iuliis; Evans Hankey;
                                                                                          Richard P. Howarth;
                                                                                          Jonathan P. Ive; Steve
                                                                                          Jobs; Duncan Robert
                                                                                          Kerr; Shin Nishibori;
                                                                                          Matthew Dean
                                                                                          Rohrbach; Peter
                                                                                          Russell-Clarke;
                                                                                          Christopher J. Stringer;
                                                                                          Eugene Antony
                                                                                          Whang; Rico
                                                                                          Zorkendorfer




ELECTRONIC     US D633,908 S   Apr. 20, 2010   Mar. 8, 2011   The ornamental design       Jody Akana; Bartley K.     SAMNDCA00373755
DEVICE                                                        for an electronic device,   Andre; Jeremy
                                                              as shown and described.     Bataillou; Daniel J.
                                                                                          Coster; Daniele De
                                                                                          Iuliis; Evans Hankey;
                                                                                          Richard P. Howarth;
                                                                                          Jonathan P. Ive; Steve
                                                                                          Jobs; Duncan Robert
                                                                                          Kerr; Shin Nishiburi;
                                                                                          Matthew Dean
                                                                                          Rohrbach; Peter
                                                                                          Russell-Clarke;
                                                                                          Christopher J. Stringer;
                                                                                          Eugene Antony
                                                                                          Whang; Rico
                                                                                          Zorkendorfer




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                                                                               Apple Design Patents
       Title     Patent Number Filing Date       Issue Date             Claim                 Inventor Name(s)       Starting Bates Number   Patent Drawings[1]
ELECTRONIC       US D636,392 S Sep. 30, 2010    Apr. 19, 2011 The ornamental design         Jody Akana; Bart1ey       SAMNDCA00373774
DEVICE WITH                                                   for an electronic device      K. Andre; Freddy
GRAPHICAL USER                                                with graphical user           Anzures; Jeremy
INTERFACE                                                     interface, as shown and       Bataillou; Imran
                                                              described.                    Chaudhri; Daniel J.
                                                                                            Coster; Daniele De
                                                                                            Iuliis; Evans Hankey;
                                                                                            Richard P. Howarth;
                                                                                            Jonathan P. Ive; Steve
                                                                                            Jobs; Duncan Robert
                                                                                            Kerr; Shin Nishibori;
                                                                                            Matthew Dean
                                                                                            Rohrbach; Peter
                                                                                            Russell-Clarke;
                                                                                            Christopher J. Stringer;
                                                                                            Eugene Antony
                                                                                            Whang; Rico
                                                                                            Zörkendörfer



ELECTRONIC       US D638,835 S   Jun. 5, 2010   May 31, 2011 The ornamental design          Jody Akana; Bartley K.     SAMNDCA00373784
DEVICE WITH                                                  for an electronic device       Andre; Jeremy
GRAPHICAL USER                                               with graphical user            Bataillou; Imran
INTERFACE                                                    interface, as shown and        Chaudhri; Daniel J.
                                                             described.                     Coster; Daniele De
                                                                                            Iuliis; Evans Hankey;
                                                                                            Richard P. Howarth;
                                                                                            Jonathan P. Ive; Steve
                                                                                            Jobs; Duncan Robert
                                                                                            Kerr; Shin Nishibori;
                                                                                            Matthew Dean
                                                                                            Rohrbach; Peter
                                                                                            Russell-Clarke;
                                                                                            Christopher J. Stringer;
                                                                                            Eugene Antony
                                                                                            Whang; Rico
                                                                                            Zorkendorfer




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                                                                                  Apple Design Patents
       Title      Patent Number   Filing Date      Issue Date               Claim               Inventor Name(s)       Starting Bates Number   Patent Drawings[1]
GRAPHICAL USER    US D618,248 S   Sep. 23,2008    Jun. 22, 2010   The ornamental design        Freddy Anzures           SAMNDCA30011656
INTERFACE FOR A                                                   for a graphical user
DISPLAY SCREEN OR                                                 interface for a display
PORTION THEREOF                                                   screen or a portion
                                                                  thereof, as shown and
                                                                  described.




GRAPHICAL USER    US D621,845 S   Jul. 30, 2007   Aug. 17, 2010 The ornamental design          Freddy Anzures; Imran   SAMNDCA30011659
INTERFACE FOR A                                                 for a graphical user           Chaudhri
DISPLAY SCREEN OR                                               interface for a display
PORTION THEREOF                                                 screen or a portion
                                                                thereof, as shown and
                                                                described.




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                                                                                 Apple Design Patents
       Title      Patent Number   Filing Date      Issue Date             Claim                Inventor Name(s)     Starting Bates Number   Patent Drawings[1]
ANIMATED          US D621,849 S   Jul. 30, 2007   Aug. 17, 2010 The ornamental design         Freddy Anzures; Bas    SAMNDCA30011662
GRAPHICAL USER                                                  for an animated               Ording; Marcel Van
INTERFACES FOR A                                                graphical user interface      Os
DISPLAY SCREEN OR                                               for a display screen or
PORTION THEREOF                                                 portion thereof, as
                                                                shown and described.




GRAPHICAL USER    US D624,555 S   May 6, 2008     Sep. 28, 2010 The ornamental design         Freddy Anzures        SAMNDCA30011665
INTERFACE FOR A                                                 for a graphical user
DISPLAY SCREEN OR                                               interface for a display
PORTION THEREOF                                                 screen or portion thereof,
                                                                as shown and described.




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                                                                                   Apple Design Patents
       Title      Patent Number   Filing Date      Issue Date               Claim               Inventor Name(s)   Starting Bates Number   Patent Drawings[1]
GRAPHICAL USER    US D625,733 S   Mar. 4, 2009    Oct. 19, 2010   The ornamental design        Freddy Anzures       SAMNDCA30011668
INTERFACE FOR A                                                   for a graphical user
DISPLAY SCREEN OR                                                 interface for a display
PORTION THEREOF                                                   screen or portion thereof,
                                                                  as shown and described.




GRAPHICAL USER    US D648,346 S   Sep. 27, 2010   Nov. 8, 2011    The ornamental design        Freddy Anzures      SAMNDCA30011670
INTERFACE FOR A                                                   for a graphical user
DISPLAY SCREEN OR                                                 interface for a display
PORTION THEREOF                                                   screen or a portion
                                                                  thereof, as shown and
                                                                  described.




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                                                                                 Apple Design Patents
       Title     Patent Number   Filing Date      Issue Date             Claim                  Inventor Name(s)   Starting Bates Number   Patent Drawings[1]
ICON FOR A       US D651,215 S   Oct. 22, 2010   Dec. 27, 2011 The ornamental design           Freddy Anzures;      SAMNDCA30011672
PORTION OF A                                                   for an icon for a portion       Stephen O. Lemay
DISPLAY SCREEN                                                 of a display screen, as
                                                               shown and described.




ICON FOR A       US D651,610 S   Jun. 30, 2010   Jan. 3, 2012   The ornamental design          Freddy Anzures      SAMNDCA30011674
PORTION OF A                                                    for an icon for a portion
DISPLAY SCREEN                                                  of a display screen, as
                                                                shown and described.




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                                                                                  Apple Design Patents
       Title     Patent Number    Filing Date    Issue Date                Claim                 Inventor Name(s)   Starting Bates Number   Patent Drawings[1]
ICON FOR A       US D651,614 S   Jun. 21, 2010   Jan. 3, 2012    The ornamental design          Freddy Anzures       SAMNDCA30011676
PORTION OF A                                                     for an icon for a portion
DISPLAY SCREEN                                                   of a display screen, as
                                                                 shown and described.




ICON FOR A       US D652,054 S   Jun. 21. 2010   Jan. 10, 2012   The ornamental design          Freddy Anzures      SAMNDCA30011678
PORTION OF A                                                     for an icon for a portion
DISPLAY SCREEN                                                   of a display screen, as
                                                                 shown and described.




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                                                                                  Apple Design Patents
       Title     Patent Number   Filing Date      Issue Date               Claim                 Inventor Name(s)   Starting Bates Number   Patent Drawings[1]
ICON FOR A       US D652,426 S   Jul. 23, 2010   Jan. 17, 2012   The ornamental design          Freddy Anzures       SAMNDCA30011681
PORTION OF A                                                     for an icon for a portion
DISPLAY SCREEN                                                   of a display screen, as
                                                                 shown and described.




ICON FOR A       US D652,428 S   Apr. 30, 2010   Jan. 17, 2012   The ornamental design          Freddy Anzures      SAMNDCA30011684
PORTION OF A                                                     for an icon for a portion
DISPLAY SCREEN                                                   of a display screen, as
                                                                 shown and described.




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                                                                                 Apple Design Patents
       Title     Patent Number    Filing Date    Issue Date               Claim                 Inventor Name(s)   Starting Bates Number   Patent Drawings[1]
ICON FOR A       US D659,160 S   Jun. 21, 2010   May 8, 2012    The ornamental design          Freddy Anzures       SAMNDCA30011686
PORTION OF A                                                    for an icon for a portion
DISPLAY SCREEN                                                  of a display screen, as
                                                                shown and described.




ICON FOR A       US D660,315 S   Jun. 21, 2010   May 22, 2012 The ornamental design            Freddy Anzures      SAMNDCA30011690
PORTION OF A                                                  for an icon for a portion
DISPLAY SCREEN                                                of a display screen, as
                                                              shown and described.




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                                                                                  Apple Design Patents
       Title       Patent Number    Filing Date     Issue Date             Claim                 Inventor Name(s)      Starting Bates Number   Patent Drawings[1]
ICON FOR A         US D665,818 S   Jun. 21, 2010   Aug. 21, 2012 The ornamental design          Freddy Anzures          SAMNDCA30011693
PORTION OF A                                                     for an icon for a portion
DISPLAY SCREEN                                                   of a display screen, as
                                                                 shown and described.




DISPLAY SCREEN OR US D668,263 S    Oct. 8, 2010    Oct. 2, 2012   The ornamental design         Steve Jobs; Louis D.   SAMNDCA30011696
PORTION THEREOF                                                   for a display screen or       Mantia, Jr.; William
WITH ICON                                                         portion thereof with          Martin Bachman;
                                                                  icon, as shown and            Jeffrey L. Robbin
                                                                  described.




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                                                                                 Apple Design Patents
       Title      Patent Number   Filing Date     Issue Date               Claim               Inventor Name(s)      Starting Bates Number   Patent Drawings[1]
DISPLAY SCREEN OR US D669,092 S   Aug. 3, 2010   Oct. 16, 2012   The ornamental design        Freddy Anzures          SAMNDCA30011700
PORTION THEREOF                                                  for a display screen or
WITH ICON                                                        portion thereof with
                                                                 icon, as shown and
                                                                 described.




DISPLAY SCREEN OR US D671,558 S   Oct. 4, 2011   Nov. 27, 2012 The ornamental design          Freddy Anzures;        SAMNDCA30011703
PORTION THEREOF                                                for a display screen or        Alessandro Francesco
WITH ICON                                                      portion thereof with           Sabatelli
                                                               icon, as shown and
                                                               described.




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                                                                                  Apple Design Patents
       Title      Patent Number Filing Date       Issue Date                Claim               Inventor Name(s)     Starting Bates Number   Patent Drawings[1]
DISPLAY SCREEN OR US D675,639 S Sep. 19, 2011     Feb. 5, 2013    The ornamental design        Freddy Anzures; Bas    SAMNDCA30011706
PORTION THEREOF                                                   for a display screen or      Ording; Marcel Van
WITH A GRAPHICAL                                                  portion thereof with a       Os
USER INTERFACE                                                    graphical user interface,
                                                                  as shown and described.




DISPLAY SCREEN OR US D686,637 S    Apr. 6, 2012   Jul. 23, 2013   The ornamental design        Freddy Anzures        SAMNDCA30011710
PORTION THEREOF                                                   tor a display screen or
WITH ICON                                                         portion thereof with
                                                                  icon, as shown and
                                                                  described.




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                                                                                  Apple Design Patents
       Title      Patent Number    Filing Date     Issue Date               Claim              Inventor Name(s)        Starting Bates Number   Patent Drawings[1]
DISPLAY SCREEN OR US D692,910 S    Feb. 7, 2012   Nov. 5, 2013    The ornamental design       Freddy Anzures;           SAMNDCA30011713
PORTION THEREOF                                                   for a display screen or     Alessandro Francesco
WITH GRAPHICAL                                                    portion thereof with        Sabatelli
USER INTERFACE                                                    graphical user interface
                                                                  as shown and described .




ELECTRONIC         US D747,310 S   Sep. 9, 2013   Jan. 12, 2016   The ornamental design       Jody Akana; Bartley K.   SAMNDCA30011721
DEVICE                                                            tor an electronic device,   Andre; Shota Aoyagi;
                                                                  as shown and described.     Jeremy Bataillou;
                                                                                              Daniel J. Coster;
                                                                                              Daniele De Iuliis; M.
                                                                                              Evans Hankey; Julian
                                                                                              Hoenig; Richard
                                                                                              P.Howarth; Jonathan
                                                                                              P. Ive; Duncan Robert
                                                                                              Kerr; Matthew Dean
                                                                                              Rohrbach; Peter
                                                                                              Russell-Clarke; Mikael
                                                                                              Silvanto; Christopher
                                                                                              J. Stringer; Eugene
                                                                                              Antony Whang; Rico
                                                                                              Zorkendorfer




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                                                                                  Apple Design Patents
       Title      Patent Number Filing Date         Issue Date             Claim               Inventor Name(s)          Starting Bates Number   Patent Drawings[1]
DISPLAY SCREEN OR US D752,641 S Apr. 29, 2015      Mar. 29, 2016 The ornamental design        Alan C. Dye; Aurelio        SAMNDCA30011733
PORTION THEREOF                                                  tor a display screen or      Guzman; Joe
WITH ICON                                                        portion thereof with         Marianek; Christopher
                                                                 icon, as shown and           Wilson
                                                                 described.




ELECTRONIC          US D763,253 S   Aug. 1, 2014   Aug. 9, 2016   The ornamental design       Jody Akana; Bartley K.     SAMNDCA30011736
DEVICE                                                            for an electronic device,   Andre; Jeremy
                                                                  as shown and described.     Bataillou; Daniel J.
                                                                                              Coster; Daniele De
                                                                                              Iuliis; M. Evans
                                                                                              Hankey; Richard
                                                                                              P.Howarth; Jonathan
                                                                                              P. Ive; Steven P. Jobs;
                                                                                              Duncan Robert Kerr;
                                                                                              Shin Nishibor;
                                                                                              Matthew Dean
                                                                                              Rohrbach; Peter
                                                                                              Russell-Clarke;
                                                                                              Christopher J. Stringer;
                                                                                              Eugene Antony
                                                                                              Whang; Rico
                                                                                              Zorkendorfer




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                                                                               Apple Design Patents
       Title   Patent Number    Filing Date    Issue Date                Claim               Inventor Name(s)       Starting Bates Number   Patent Drawings[1]
ELECTRONIC     US D773,453 S   Jun. 11, 2014   Dec. 6, 2016    The ornamental design       Jody Akana; Bartley K. SAMNDCA30011749
DEVICE                                                         for an electronic device,   Andre; Jeremy
                                                               as shown and described.     Bataillou; Daniel J.
                                                                                           Coster; Daniele De
                                                                                           Iuliis; M. Evans
                                                                                           Hankey; Julian
                                                                                           Hoenig; Richard P.
                                                                                           Howarth; Jonathan P.
                                                                                           Ive; Duncan;Robert
                                                                                           Kerr; Shin Nishibori;
                                                                                           Matthew Dean
                                                                                           Rohrbach; Peter
                                                                                           Russell-Clarke;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




ELECTRONIC     US D789,926 S   Feb. 3, 2016    Jun. 20, 2017   The ornamental design       Bartley K. Andre;          SAMNDCA30011759
DEVICE                                                         for an electronic device    Daniel J. Coster;
                                                               as shown and described.     Daniele De Iuliis;
                                                                                           Richard P. Howarth;
                                                                                           Jonathan P. Ive; Steven
                                                                                           P. Jobs; Duncan
                                                                                           Robert Kerr; Shin
                                                                                           Nishibori; Matthew
                                                                                           Dean Rohrbach;
                                                                                           Douglas B.Satzger;
                                                                                           CalvinQ. Seid;
                                                                                           Christopher J. Stringer;
                                                                                           Eugene Antony
                                                                                           Whang; Rico
                                                                                           Zorkendorfer




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                                                                                                       Apple Design Patents
       Title                  Patent Number Filing Date               Issue Date                 Claim               Inventor Name(s)     Starting Bates Number   Patent Drawings[1]
ELECTRONIC                    US D790,535 S Dec. 16, 2015            Jun. 27, 2017     The ornamental design       Jody Akana; Bartley K. SAMNDCA30011767
DEVICE                                                                                 for an electronic device,   Andre; Shota Aoyagi;
                                                                                       as shown and described.     Jeremy Bataillou;
                                                                                                                   Daniel J. Coster;
                                                                                                                   Daniele De Iuliis; M.
                                                                                                                   Evans Hankey; Julian
                                                                                                                   Hoenig; Richard P.
                                                                                                                   Howarth; Jonathan P.
                                                                                                                   Ive; Duncan Robert
                                                                                                                   Kerr; Matthew Dean
                                                                                                                   Rohrbach; Peter
                                                                                                                   Russell-Clarke; Mikael
                                                                                                                   Silvanto; Christopher
                                                                                                                   J. Stringer; Eugene
                                                                                                                   Antony Whang; Rico
                                                                                                                   Zorkendorfer




Note:
[1] Parts of the Patent Drawings displayed in broken lines form no part of the claimed design.




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